              Case 4:22-cv-03892-YGR Document 143 Filed 01/23/24 Page 1 of 2



1     Paul N. Tauger (SBN 160552)                       Meredith Martin Addy (pro hac vice)
      ADDYHART P.C.                                     ADDYHART P.C.
2     5151 California Street, Suite 100                 10 Glenlake Parkway, Suite 130
      Irvine, CA 92617                                  Atlanta, GA 30328
3     949.438.3218                                      312.320.4200
      949.438.3332 (fax)                                meredith@addyhart.com
4     ptauger@addyhart.com
5
     Robert P. Hart (pro hac vice)
6
     Brandon C. Helms (pro hac vice forthcoming)
7
     ADDYHART P.C.
     401 N. Michigan Ave., Suite 1200-1
8    Chicago, Illinois 60611
     949.337.0568
9    robert@addyhart.com
     312.731.6568
10   bhelms@addyhart.com

11   Attorneys for Involuntary Plaintiff Thales Visionix, Inc.
12
                                     UNITED STATES DISTRICT COURT
13

14                             NORTHERN DISTRICT OF CALIFORNIA

15

16
     GENTEX CORPORATION and INDIGO                      Case No.: 4:22-cv-03892-YGR
17   TECHNOLOGIES, LLC,

18          Plaintiffs,                                 NOTICE OF APPEARANCE OF BRANDON
19                                                      C. HELMS
     THALES VISIONIX, INC.,
20
            Involuntary Plaintiff,
21
     v.
22

23   META PLATFORMS, INC., and META
     PLAINTFORM TECHNOLOGIES, LLC,
24             Defendants.
25

26

27
            Involuntary Plaintiff Thales Visionix, Inc. hereby notifies the Court and the parties to this
28
     action that Brandon C. Helms of ADDYHART P.C., an attorney admitted to practice in this

                                                   NOTICE OF APPEARANCE OF BRANDON C. HELMS - 1-
                                                                         Case No. 4:22-cv-03892-YGR
                Case 4:22-cv-03892-YGR Document 143 Filed 01/23/24 Page 2 of 2



1    Court, appears as additional counsel for Involuntary Plaintiff Thales Visionix, Inc. in this matter.
2
     Please serve all pleadings, correspondence, and other material on Mr. Helms at the following
3
     address:
4

5

6           Brandon C. Helms
            ADDYHART P.C.
7           401 N. Michigan Ave., Suite 1200-1
            Chicago, Illinois 60611
8           312.731.6568
            bhelms@addyhart.com
9

10

11              Dated this 23rd day of January 2024.    Respectfully submitted,
12
      Meredith Martin Addy (pro hac vice)               /s/ Brandon C. Helms
13    ADDYHART P.C                                      Brandon C. Helms (pro hac vice forthcoming)
14    10 Glenlake Parkway                               ADDYHART P.C.
      Suite 130                                         401 N. Michigan Ave., Suite 1200-1
15    Atlanta, GA 30328                                 Chicago, Illinois 60611
      312.320.4200                                      312.731.6568
16    meredith@addyhart.com                             bhelms@addyhart.com

17                                                      Robert P. Hart (pro hac vice)
      Paul N. Tauger (SBN 160552)                       ADDYHART P.C.
18
      ADDYHART P.C                                      401 N. Michigan Ave., Suite 1200-1
      5151California Street                             Chicago, Illinois 60611
19    Suite 100                                         949.337.0568
      Irvine,. CA 92617                                 robert@addyhart.com
20    949.438.3218
      949.438.3332 (fax)
21    ptauger@addyhart.com
      litigation-dkt@addyhart.com
22

23

24

25

26

27

28



                                                   NOTICE OF APPEARANCE OF BRANDON C. HELMS - 2-
                                                                         Case No. 4:22-cv-03892-YGR
